                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                    )
                                             )
               v.                            )
                                             )       Case No. 2:18-cr-49
ANGELO EFTHIMIATOS,                          )
    Defendant.                               )


DEFENDANT’S UNOPPOSED MOTIONS TO CONTINUE THE TRIAL DATE, FOR A
 NEW MOTIONS FILING DATE, LEAVE TO FILE MOTIONS AND TO EXCLUDE
               TIME UNDER THE SPEEDY TRIAL ACT

       Angelo Efthimiatos, through counsel, respectfully moves the Court for a continuance of

the September 11, 2018, trial date. Mr. Efthimiatos also moves the Court to set a new motions

filing deadline and grant him leave to file motions. Finally, should this Court grant the motion

to continue the trial date, Mr. Efthimiatos moves this Court for an order that the time between

now and the new trial date be excluded under the Speedy Trial Act. The facts and arguments

supporting these motions are set forth below:

       Case status.

       Mr. Efthimiatos was charged in a single count indictment on April 26, 2018, with

knowingly and willfully serving as an airman without an airman’s certificate in violation of 49

U.S.C. § 46306(b)(7). Mr. Efthimiatos was arraigned on May 4, 2018, and the Court ordered

him detained. At that time, sixty days were requested for the filing of pre-trial motions. That

request was granted and a motions filing date of July 11, 2018, was ordered. No extensions of

that date have been requested before now. Mr. Efthimiatos remains detained and is currently

incarcerated at the Northwest States Correctional Facility in Swanton, Vermont.


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       Motion for continuance of the trial date.

       Mr. Efthimiatos is charged with flying a plane without a license. His trial is scheduled

to begin on September 11, 2018. Mr. Efthimiatos believes that trying his case—where he is

charged with flying a plane illegally—on the anniversary of the deadliest terror attack on the

United States will be overly prejudicial to him at trail. It goes without saying that the terrorist

attacks on September 11, 2001, were the most traumatic attacks on the United States since

December 7, 1941, and were carried out by flying commercial airplanes into their intended

targets. The attacks killed thousands of innocent civilians. The attacks cost the country untold

billions of dollars in repair and cleanup. The 9/11 attacks were the catalyst for two costly wars

in Afghanistan and Iraq, the repercussion of which are still being felt here in the U.S. and around

the globe.

       Most importantly, in relation to Mr. Efthimiatos’ request for a continuance, the 9/11

attacks changed the way we think about flying and how we treat flying. Every person who flies

is reminded of the attacks when they are subjected to security that is far more stringent that it

was pre-9/11. The security is a constant reminder that airplanes were used as deadly weapons

against the citizens of the United States and that the very fabric of society has irrevocably

changed as a result of the 9/11 attacks. As the anniversary approaches, and particularly on the

date itself, news coverage and documentaries commemorating the date will be ubiquitous.

Under such circumstances, Mr. Efthimiatos feels he will not receive a fair trial if it begins on

September 11th.

       Counsel has conferred with AUSA Geni Cowles and she has indicated that she does not

object to this request. Mr. Efthimiatos asks that the trial date be continued to a mutually

exclusive time after September.
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       Mr. Efthimiatos moves this Court for a new motions deadline and leave to file
       motions.

       Mr. Efthimiatos moves this Court for leave to set a new motions filing date. If granted,

Mr. Efthimiatos request should not materially delay the case. Counsel anticipates filing motions

related to Mr. Efthimiatos’ statements made at the time of his arrest. Such motions could be

filed before the end of this week and do not involve complicated legal issues. Counsel has filed

such motions with the Court in other cases, as have other attorneys, so the legal landscape will

not be new to the Court.

       Moreover, Mr. Efthimiatos believes that the government will not be prejudiced by the

extension of time for the filing of motions. Counsel believes that all of the witnesses needed for

a hearing remain capable of testifying about the events that occurred on the day of Mr.

Efthimiatos’ arrest. Counsel has conferred on this matter with AUSA Geni Cowles and she

indicates that she does not object to ordering a new motions filing deadline and granting Mr.

Efthimiatos leave to file motions.

       Mr. Efthimiatos agrees time should be excluded under the Speedy Trial Act.

       Should this Court grant Mr. Efthimiatos’ motion for a new trial date, he further moves the

Court for an order that time between now and any new trial date be excluded from computation

under the Speedy Trial Act. Such exclusion is warranted because the ends of justice outweigh

the best interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

Such time also would give counsel for the defendant the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

       Conclusion.

       Wherefore, Angelo Efthimiatos, by counsel, respectfully requests an order continuing his

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trial date from September 11, 2018, until the next available date convenient to the parties after

September. He also moves the Court for an order setting a new motions filing deadline and

leave to file motions. Finally, should the Court grant his motion to continue the trial date, he

moves the Court for an order excluding time from now until such new trial date.



Dated: August 15, 2018



                                              By:     /s/ Steven L. Barth
                                                      Steven L. Barth
                                                      Assistant Federal Public Defender
                                                      126 College Street, Suite 410
                                                      Burlington, Vermont 05401
                                                      (802) 862-6990
                                                      Counsel for Angelo Efthimiatos




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ANGELO EFTHIMIATOS,                          )
    Defendant.                               )


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of August, 2018, I electronically filed the

Defendant’s Motion to Continue the Trial Date, Leave to File Motions and Exclude Time Under

the Speedy Trial Act, with the Clerk of Court using the CM/ECF system, which will send

notification of such filing(s) to the following: Assistant United States Attorney, Geni Cowles, via

eugenia.cowles@usdoj.gov.




                                             By:     /s/ Marsha V. Curtis
                                                     Marsha V. Curtis
                                                     Paralegal
                                                     Federal Public Defender Office
                                                     126 College Street, Suite 410
                                                     Burlington, Vermont 05401
                                                     (802) 862-6990




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